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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

    BARBARA J. BARRINGTON,

                                 Plaintiff,

    -vs.-                                            Case No.: 6:05-cv-1601-Orl-19KRS

    LOCKHEED MARTIN and U.A.W.
    LOCAL 788, INTERNATIONAL
    UNION OF AUTOMOBILE,
    AEROSPACE-AGRICULTURAL
    IMPLEMENT WORKERS OF
    AMERICA,

                                 Defendants.

    ___________________________________

                                           ORDER

            This case comes before the Court on the following:

            1.    Motion to Vacate Arbitration Award, filed by Plaintiff Barbara J. Barrington

                  on October 25, 2005; (Doc. No. 1);

            2.    [Amended] Memorandum of Law in Support of Motion to Vacate Arbitration

                  Award, filed on November 10, 2005; (Doc. No. 9);

            3.    The Motion to Dismiss and Supporting Memorandum of Law/Memorandum

                  of Law in Opposition to Plaintiff’s Motion to Vacate Arbitration Award, filed

                  by Defendant Lockheed Martin Corporation on November 29, 2005; (Doc.

                  No. 13); and



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              4.      [Amended] Memorandum of Law in Opposition to Defendant[‘s] Motion to

                      Dismiss/Supporting Memorandum of Law/Memorandum of Law in

                      Opposition to Plaintiff’s Motion to Vacate Arbitration Award, filed on

                      December 9, 2005. (Doc. No. 24-2).

                                              Background

              The following allegations are taken from Plaintiff’s Motion to Vacate Arbitration

       Award and documents attached as exhibits. (Doc. No. 1). On March 30, 2004, Defendant

       Lockheed Martin Corporation (“Lockheed”) terminated the employment of Plaintiff Barbara

       J. Barrington (“Barrington”) for allegedly violating company policies prohibiting horseplay,

       unwanted physical contact, and disruption at the workplace. (Id. at ¶ 11). Specifically,

       Barrington was alleged to have violated these policies when, on January 29, 2004, she took

       a pair of scissors and cut the hair of a co-worker, Rickie Wilson. (Doc. No. 1, Ex. C).

       Although Wilson and a witness, Wayne Henry, Jr., indicated to Lockheed that Wilson did

       not consent to this contact, Barrington maintained that she felt that Wilson, who was

       listening to music through an earpiece at the time, consented to the hair cutting by nodding

       his head up and down. (Doc. No. 1, Ex. B, p. 3).

              Wilson later submitted a statement to Lockheed describing the incident in which he

       again indicated that he did not give consent to the contact.1 (Doc. No. 1, Ex. Z-2, p. 12).

       One or two days later, however, Wilson attempted to withdraw his statement, stating that he

       did not want Barrington to be fired over the incident. (Doc. No. 1, Ex. Z-1, pp. 28-29).


       1
          Although the content of Wilson’s statement is undisputed, Barrington contends that
Lockheed management coerced Wilson into filing such statement against his will. (See Doc. No.
1, ¶ 17).

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    Lockheed nevertheless terminated Barrington. Barrington then requested that Defendant

    U.A.W. Local 788, International Union of Automobile, Aerospace-Agricultural Implement

    Workers of America (“the Union”) file a grievance on her behalf. (Doc. No. 1, ¶ 12).

              Lockheed and the Union are parties to a collective bargaining agreement (“CBA”)

    which governs grievances filed by the Union on behalf of Lockheed employees. (Id. at ¶ 5).

    Pursuant to this CBA, Lockheed has the right to discharge employees “for cause,” yet the

    terminated employee has a right to file a grievance in an attempt to have his or her

    employment reinstated. (Doc. No. 1, Ex. A, Article VIII). The CBA also provides that in

    the event the grievance procedure fails to resolve the dispute, the dispute must be submitted

    to binding arbitration. (Id. at Article IX). In terms of the scope of such arbitration, the CBA

    states:

              The arbitrator shall consider only those issues, including any Amendments
              that were made pursuant to [the Article of the CBA dealing with grievances],
              which have been properly carried through all steps of the Grievance
              Procedure. The arbitrator shall afford to the Company and the Union a
              reasonable opportunity to present evidence, witnesses, and arguments.
              Persons testifying may be sworn at the request of either party...The arbitrator
              shall have no authority to add to, subtract from, modify or amend any
              provisions of this Agreement.

    (Id.)

              After the grievance procedure failed to produce a mutually acceptable solution,

    Barrington’s grievance went to arbitration, where on July 27, 2005 the arbitrator ruled in

    favor of Lockheed. The arbitrator, Robert G. Williams, concluded that Wilson had not

    consented to having his hair cut by Barrington, and that such unwanted physical contact was

    grounds for termination. (See Doc. No. 1, Ex. B). The arbitrator stated that even if the

    Wilson incident did not provide adequate grounds to terminate Barrington, separate conduct

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       by Barrington established independent grounds for her firing. Specifically, Williams found

       that Barrington purposely filed two “abusive” civil defamation lawsuits against two other

       co-workers in state court in an attempt to punish these co-workers or to portray herself as an

       “innocent victim” in the eyes of Lockheed. (See id.). Although the lawsuits were not issues

       “properly carried through all steps of the grievance procedure,” the arbitrator concluded that

       such incidents “clearly arose out of the work environment” and were “within the reach of

       employer discipline.” (See id.). Thus, Williams took the filing of the lawsuits into

       consideration and determined that they were an independent ground for Barrington’s

       discharge.

               It is undisputed that Barrington asked the Union to seek judicial review of the

       arbitrator’s decision and the Union chose not to do so. (Doc. No. 1, ¶ 24; Doc. No. 13, p.

       8). Thus, Barrington has filed pro se a motion to vacate the arbitration decision rendered in

       her case. In such motion, she alleges that the Court should vacate the arbitrator’s decision

       because such decision was procured by corruption, fraud, or undue means. See 9 U.S.C. §

       10(a)(1). Alternatively, Barrington claims that the arbitrator exceeded his powers or so

       imperfectly executed them that a mutual, final, and definite award upon the subject matter

       submitted was not made. See 9 U.S.C. § 10(a)(4).

               Specifically, Barrington alleges multiple material errors in her arbitration proceeding.

       First, Barrington claims that her Union representative, Michael Barnette,2 breached his duty

       to fairly represent her by restraining her from testifying at an arbitration hearing on February



       2
          The parties disagree as to the spelling of Mr. Barnette’s surname. The Court will use
the spelling that is present in the certified copy of the arbitration proceedings.

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    18, 2005. (Doc. No. 1, ¶ 16).       Barrington further alleges that Barnette and Williams

    engaged in ex parte telephone communications with each other in which Williams formed

    preconceived opinions about Barrington and her case. (Id. at ¶ 19). In addition, Barrington

    alleges that the Union failed to move for a new representative and arbitrator in her case when

    she presented them with these concerns. (Id. at ¶ 19).         Finally, Barrington claims that

    Williams considered evidence not properly before the tribunal and failed to consider

    mitigating evidence of fraud on the part of Lockheed when rendering his decision. (Id. at

    ¶¶ 9-10, 21).    Barrington claims that these abuses warrant vacation of the arbitrator’s

    decision.

           In response, Lockheed has filed a Motion to Dismiss Barrington’s motion to vacate

    pursuant to Rule 12(b) of the Federal Rules of Civil Procedure. (See Doc. No. 13). In it,

    Lockheed asserts that the Court lacks jurisdiction to consider Barrington’s claims.

    Furthermore, it alleges that Barrington lacks standing to challenge the arbitrator’s decision.

    Finally, Lockheed argues that even if Barrington can overcome these procedural hurdles, she

    has failed to state a claim for which relief can be granted.

           This Order analyzes Lockheed’s motion to dismiss Barrington’s motion to vacate,

    (Doc. No. 13), and Barrington’s amended memorandum in opposition. (Doc. No. 24-2).

                                        Standard of Review

           In construing a motion to dismiss, the Court must view any factual allegations in the

    light most favorable to the plaintiff, consider such allegations as true, and accept all

    reasonable inferences therefrom. Jackson v. Okaloosa County, Fla., 21 F.3d 1532, 1534

    (11th Cir. 1994); Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). Furthermore, the Court must


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    limit its consideration to the plaintiff’s pleading and written instruments attached to it as

    exhibits. Fed R. Civ. P. 10(c); GSW, Inc. v. Long County, Ga., 999 F.2d 1508, 1510 (11th

    Cir. 1993). A pleading should not be dismissed pursuant to Rule 12(b)(6) for failure to state

    a claim unless it appears beyond doubt that the plaintiff can prove no set of facts showing

    entitlement to relief. Conley v. Gibson, 355 U.S. 41, 45-46 (1957). Pro se pleadings are

    governed by less stringent standards than pleadings signed by counsel. Haines v. Kerner,

    404 U.S. 519, 520 (1972).

                                              Analysis

                            A. Federal Rule of Civil Procedure 12(b)

           The Federal Rules of Civil Procedure authorize a court, upon suitable showing, to

    dismiss any action or any claim within an action for failure to state a claim upon which relief

    can be granted. See Fed. R. Civ. P. 12(b)(6). However, when considering a motion to

    dismiss, the court has the discretion under Federal Rule of Civil Procedure 12(b) to decide

    whether it will accept materials outside the pleadings and convert the motion to dismiss to

    one for summary judgment. See Fed. R. Civ. P. 12(b); Burns v. Harris County Bail Bond

    Bd., 139 F.3d 513, 517 (5th Cir.1998); Skyberg v. United Food and Commercial Workers

    Int'l Union, 5 F.3d 297, 302 (8th Cir.1993). A decision on whether or not to convert a

    motion to dismiss into a motion for summary judgment rests solely within the wide

    discretion of the trial court. See Skyberg, 5 F.3d at 302, n. 2; EEOC v. Reno, 758 F.2d 581,

    583 n. 6 (11th Cir. 1985).

           Although both parties in this case devote portions of their written arguments to

    discussing additional facts not found in the motion to vacate or its exhibits and disputing


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       whether or not Barrington’s allegations actually occurred, (See, e.g., Doc. No. 13, pp. 17-20;

       Doc. No. 24-2, pp. 2-4), the Court will not exercise its discretion to convert Lockheed’s

       Motion to Dismiss into a motion for summary judgment. The written submissions of the

       parties make clear that neither party intended to convert their arguments into a Rule 56

       motion for summary judgment.3 Furthermore, neither party has been given an adequate

       opportunity to present all material made pertinent to a summary judgment motion under Rule

       56. Fed. R. Civ. P. 12(b). Thus, the Court will not accept any matters outside the pleading

       presented by either party.

                                                B. Jurisdiction

                The Court finds that it has jurisdiction to hear Barrington’s motion. In the case at

       bar, Barrington is moving to vacate an arbitration decision and has sued both her Union and

       her former employer. Plaintiff cites two bases for federal question jurisdiction -- the Federal

       Arbitration Act (FAA)4 and the Labor Management Relations Act (LMRA)5.

                A request to review an arbitration award made pursuant to the FAA, which may be

       opposed on grounds that the arbitrator exceeded his powers, may be made either in the court

       specified in the parties’ arbitration agreement or in the federal court in the district where the

       award was entered. See 9 U.S.C. §§ 9, 10; J.A. Jones Constr. Co. v. Flakt, Inc., 731 F.Supp.

       3
           See Doc. No. 24-2, p. 1, n. 1 (discussing the intent of Plaintiff’s motion); Doc. No. 13,
p. 1, n. 1 (stating that Lockheed’s motion is intended as a motion to dismiss, and that for such
purposes, Lockheed must accept the factual allegations as true); Id. at p. 10, n. 5 (pointing out
additional factual and legal arguments Lockheed could have made, and stating that such
arguments “will be raised by Lockheed Martin in a motion for summary judgment, if
necessary”).
       4
           Codified at 9 U.S.C. §§ 1 et. seq.
       5
           Codified at 29 U.S.C. §§ 185 et. seq.

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    1061, 1063-64 (N.D. Ga. 1990). The law is quite settled that the FAA does not by itself

    confer subject matter jurisdiction on the federal courts and that plaintiffs seeking review of

    an arbitration award must allege an independent jurisdictional basis to entertain cases arising

    under the FAA. See, e.g., Moses H. Cone Memorial Hospital v. Mercury Const. Co., 460

    U.S. 1, 26 n. 32 (1983); Baltin v. Alaron Trading Corp., 128 F.3d 1466, 1469 (11th Cir.

    1997).

             Although the FAA cannot support federal jurisdiction alone, Plaintiff has cited

    adequate facts in her motion to vacate to trigger federal question jurisdiction based on the

    LMRA. Not only does Barrington allege that the arbitrator exceeded his powers in finding

    against her, but she also alleges that the Union breached its duty to fairly represent her by

    engaging in ex parte communications with the arbitrator, failing to present evidence to the

    arbitrator favorable to her case, and failing to move for a new representative and arbitrator

    in her case when she presented the Union with these concerns. (Doc. No. 1, ¶¶ 15-21).

    Barrington further alleges that these transgressions led to a decision either procured by

    corruption, fraud, or undue means, or a decision in which a mutual, final, and definite award

    upon the subject matter submitted was not made. (Doc. No. 1, ¶¶ 9-10).

             The Supreme Court has held that a suit is properly before federal courts under the

    LMRA where an employee sues for vindication of her "uniquely personal rights" under a

    contract between an employer and a labor union. Smith v. Evening News Assn., 371 U.S.

    195, 198-200 (1962). “Uniquely personal rights” an employee may seek to vindicate under

    Section 301 of the LMRA include rights related to “wages, hours, overtime pay, and

    wrongful discharge.” Hines v. Anchor Motor Freight, Inc., 424 U.S. 554, 562 (1976);


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    Darden v. U.S. Steel Corp., 830 F.2d 1116, 1119 (11th Cir. 1987) (emphasis added). Thus,

    construing the allegations in this case in a light most favorable to the plaintiff, the Court

    finds Barrington has averred sufficient facts to establish federal question jurisdiction in this

    case.

      C. Applying the FAA to Arbitrations Under Collective Bargaining Agreements

            Lockheed Martin argues that the FAA does not apply to arbitrations conducted

    pursuant to collective bargaining agreements, and thus that Barrington has failed to state a

    claim for which relief can be granted under the FAA. This argument is not well taken.

            Lockheed argues that it is an open question in the Eleventh Circuit as to whether the

    FAA applies to arbitrations conducted pursuant to collective bargaining agreements, see,

    e.g., Brisentine v. Stone & Webster Eng’g Corp., 117 F.3d 519, 525 (11th Cir. 1997), yet

    at the same time asserts that its position is the “majority rule.” (Doc. 13, p. 10). As

    Lockheed notes, the Fifth Circuit has suggested that suits arising under Section 301 of the

    LMRA are outside the scope of the FAA. Int’l Assn. of Machinists and Aerospace Workers

    v. Goodrich Corp., 410 F.3d 204, 207 n.2 (5th Cir. 2005).

            An examination of the case law, however, reveals that this issue is not as settled as

    Lockheed argues, as the Circuit Courts of Appeals differ as to what role, if any, the FAA

    plays in construing arbitrations conducted pursuant to collective bargaining agreements.

    First, the United States Supreme Court has recently determined that the FAA generally

    applies to all contracts of employment, except those involving “transportation workers” in

    the interstate transportation industries. Circuit City v. Adams, 532 U.S. 105, 119 (2001).

    Although this determination would appear to settle the issue as it implicitly includes


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       collective bargaining agreements,6 and Barrington is not a transportation worker, there is a

       dispute among the Circuits as to whether Circuit City provides any guidance regarding

       whether the FAA applies to arbitrations conducted under collective bargaining agreements.

       See, e.g. International Broth. of Elec. Workers, Local Union No. 545 v. Hope Elec. Corp.,

       380 F.3d 1084, 1097-98 (8th Cir. 2004); Goodrich, 410 F.3d at 207 n.2. Neither Lockheed

       nor the Court’s independent research has produced a single Eleventh Circuit case which has

       stated that the FAA does not apply in the instant situation.

               The Court has surveyed post-Circuit City cases among the other Circuits. First, the

       Seventh Circuit has held that the FAA would apply in an analogous situation. See Smart v.

       Int’l Broth. of Elec. Workers, Local 702, 315 F.3d 721, 724-25 (7th Cir. 2002); see also

       Pryner v. Tractor Supply Co., 109 F.3d 354, 358 (7th Cir. 1997); Briggs & Stratton Corp.

       v. Local 232, Int’l Union, Allied Ins. Workers of Am., 36 F.3d 712, 715 (7th Cir. 1994). In

       so finding, the Court first found that the FAA applies in challenging an arbitrator’s decision

       so long as there is no conflict with an express provision of Section 301of the LMRA. Smart,

       315 F.3d at 724-25. After examining the FAA, the LMRA, and the facts of the case in

       Smart, which were similar to the case at bar, the Seventh Circuit determined that there was

       no conflict between the statutes, and thus that procedures outlined in the FAA applied. Id.

               Other Circuits, however, disagree. The Second Circuit has held that the FAA does

       not apply in this situation, although its opinion was issued prior to Circuit City. See Coca

       Cola Bottling Co. of N.Y. v. Soft Drink and Brewery Workers Union Local 812, 242 F.3d 52,



       6
          See Goodrich, 410 F.3d at 207, n. 2 (“At first blush, this holding implicitly includes
collective bargaining agreements...”).

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    53 (2d Cir. 2001) (issued Feb. 26, 2001, one month prior to Circuit City). The Eighth Circuit

    has also rejected an FAA challenge to an arbitration decision in a suit brought under section

    301 of the LMRA. Int’l Broth. of Elec. Workers, Local Union No. 545 v. Hope Elec. Corp.,

    380 F.3d 1087, 1097 (8th Cir. 2004). As noted by Lockheed, the Fifth Circuit also appears

    to agree with the Eighth Circuit, although admittedly only in dictum. Goodrich, 410 F.3d

    at 207, n.2; Int’l. Chem. Workers Union v. Columbian Chemicals Co., 331 F.3d 491, 494

    (5th Cir. 2003).

            Thus, this is an unsettled area of the law as to which the Eleventh Circuit has not

    issued a definitive opinion and other circuit courts differ. Upon an examination of the cases,

    it appears that the Eleventh Circuit would agree with the Seventh Circuit and refuse to hold

    that Barrington has failed to state a claim upon which relief can be granted under the FAA.

    There are factual similarities between Smart and the instant case. Additionally, implied pre-

    emption and repeals by implication are generally disfavored. TVA v. Hill, 437 U.S. 153,

    189-90 (1978); Pryner, 109 F.3d at 358. A third reason is the broad scope of the FAA.

            Although the Federal Arbitration Act has no particular reference to collective

    bargaining agreements, the Supreme Court has indicated that the Act was enacted with a

    broad scope in mind. The FAA’s “purpose was to reverse the longstanding judicial hostility

    to arbitration agreements that had existed at English common law and had been adopted by

    American courts, and to place arbitration agreements upon the same footing as other

    contracts.” Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991). The FAA

    broadly provides that a written provision in “a contract evidencing a transaction involving

    commerce to settle by arbitration a controversy thereafter arising out of such contract ... shall


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    be valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity

    for the revocation of any contract.” 9 U.S.C. § 2. In fact, the FAA not only “declared a

    national policy favoring arbitration,” but actually “withdrew the power of the states to

    require a judicial forum for the resolution of claims which the contracting parties agreed to

    resolve by arbitration.” Southland Corp. v. Keating, 465 U.S. 1, 10 (1984). Because of its

    scope, the Supreme Court has read the Act to “manifest a ‘liberal federal policy favoring

    arbitration agreements.’” Gilmer, 500 U.S. at 25 (quoting Moses H. Cone Memorial Hospital

    v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983)).

           Finally, some of the reasoning of the other Circuits which hold that the FAA does not

    apply to arbitrations conducted pursuant to collective bargaining agreements is undercut by

    the underlying reliance of these Courts on the FAA in interpreting LMRA claims. For

    instance, both the Second and Fifth Circuits have noted that Courts may rely on the FAA

    "for guidance" when reviewing a case involving an arbitration decision arising under Section

    301 of the LMRA where the arbitration was conducted pursuant to a collective bargaining

    agreement. See Int'l Chem. Workers Union, 331 F.3d at 494-499 (stating the above principle

    and then discussing the FAA in a decision upholding an arbitration award); Coca-Cola, 242

    F.3d at 54 (explaining “that the body of law developed under Section 301 will at times draw

    upon provisions of the FAA, but by way of guidance alone”). Such reliance on the FAA,

    even if only “for guidance alone,” seems to go against the rationale for having a blanket rule

    against applying the FAA in the first place – namely, that adherence to the FAA may lead

    to anomalous or bizarre results. See Coca-Cola, 242 F.3d at 55.




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               While the Court shares the Second Circuit’s concern that adherence to the FAA, an

    earlier enacted statute, in Section 301 cases may lead to an inequitable result, the better

    approach to cases such as these is the Seventh Circuit’s approach, which examines the

    statutes at issue for conflict and applies the FAA only if it does not contradict the more

    specific provisions of the LMRA. See, e.g., Smart, 315 F.3d at 724-25. This would allow

    courts to give effect to the broad scope of the FAA and still avoid potentially anomalous

    results.

               As in Smart, there is no conflict between the two sections of these statutes in the

    instant case. See Smart, 315 F.3d at 724-25; Pryner, 109 F.3d at 358-65. Thus, because the

    Court finds the Eleventh Circuit would likely agree with the Seventh Circuit’s approach to

    applying the FAA to arbitration proceedings conducted pursuant to collective bargaining

    agreements, Barrington has stated a claim for relief under the FAA.

                                              D. Standing

               Lockheed maintains that Plaintiff lacks standing to move to vacate the arbitrator’s

    decision. Specifically, Lockheed argues that because the arbitration proceeding was

    officially styled as an action between the Union and Lockheed Martin, Barrington is not

    officially a party to the arbitration. This argument is not well taken.

               As the lone source of authority supporting the proposition that Barrington lacks

    standing to move for vacation of the arbitration award, Lockheed cites Acuff v. United

    Papermakers & Paperworkers, AFL-CIO. 404 F.2d 169 (5th Cir. 1968). Acuff, however,

    is distinguishable for at least two reasons. First, Acuff involved a plaintiff who wanted to

    intervene in a suit and not a plaintiff who filed suit on her own. Secondly, and more


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       importantly, in the instant case Barrington has alleged arbitrary action and bad faith both on

       behalf of the Union and the arbitrator, as opposed to just the arbitrator. Acuff itself strongly

       suggests, and other courts have held, that when an employee alleges a breach of the duty of

       fair representation by a labor union, such allegation factually distinguishes the case from

       Acuff, and the employee has standing to move to vacate the arbitration award.7 Thus,

       because Barrington has alleged a breach of the duty of fair representation on behalf of the

       Union, and because an employee may sue for vindication of her “uniquely personal rights”

       under a contract between an employer and a union,8 the Court finds Barrington has standing

       to pursue her Motion to Vacate Arbitration Award.

                                         E. Failure to State a Claim

                Lockheed further argues that Barrington has failed to state a claim for which relief

       can be granted under both Section 10 of the Federal Arbitration Act and Section 301 of the

       Labor Management Relations Act. However, looking only at the “four corners” of the

       pleading, viewing any factual allegations in the light most favorable to the plaintiff,

       considering such allegations as true, and accepting all reasonable inferences drawn




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         Acuff, 404 F.2d at 171; DelCostello v. Int’l Brotherhood of Teamsters, 462 U.S. 151,
165-66 (1983); Bills v. U.S. Steel LLC, 267 F.3d 785, 786-788 (8th Cir. 2001); F.W. Woolworth
Co. v. Miscellaneous Warehousemen’s Union, Local No. 781, 629 F.2d 1204, 1209-1210 (7th
Cir. 1980). Other Circuits have held that employees have standing in this situation regardless of
whether they have alleged bad faith on the part of the labor union. See, e.g., Ass’n of
Contracting Plumbers of the City of New York v. Local Union No. 2 United Ass’n of Journeymen
and Apprentices of the Plumbing and Pipefitting Industry of the United States and Canada, 841
F.2d 461, 467 (2d Cir. 1988).
       8
           Smith, 371 U.S. at 198-200.

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       therefrom,9 the Court finds that Plaintiff has adequately stated facts that, if true, would

       support vacation of the arbitrator’s decision.

                              1. Failure to State a Claim under the FAA

              First, with respect to Barrington’s FAA claim, the motion to vacate alleges that the

       arbitrator’s decision should be vacated either because the decision was procured by

       corruption, fraud, or undue means, or because the arbitrator exceeded his powers or so

       imperfectly executed them that a mutual, final, and definite award upon the subject matter

       submitted was not made. See 9 U.S.C. §§ 10(a)(1), 10(a)(4). Specifically, Barrington

       alleges that the arbitrator engaged in ex parte telephone communications with her Union

       representative in which he formed preconceived opinions about Barrington and her case and

       failed to consider mitigating evidence of fraud on the part of Lockheed when rendering his

       decision. (Doc. No. 1, ¶¶ 19, 21). Further, Barrington alleges that the arbitrator based his

       decision on extraneous issues not presented to him which had not been fully and properly

       carried through the requisite grievance procedure. (Doc. No. 1, ¶¶ 9-10).

              While allegations of mere indiscretions, slight irregularities, or departures from

       formal technicalities are insufficient in seeking to vacate an arbitration award, serious

       misconduct occurring during an arbitration proceeding or a manifest disregard of the law

       may result in a vacation of the arbitrator’s decision. See Sterling Fluid Sys. (USA), Inc. v.

       Chauffers, Teamsters, & Helpers Local Union #7, 322 F.Supp.2d 837, 842-844 (W.D. Mich.

       2004), affirmed by 144 Fed.Appx. 457 (6th Cir. 2005). Courts have held arbitration awards



       9
         See, Jackson v. Okaloosa County, Fla., 21 F.3d 1532, 1534 (11th Cir. 1994); Scheuer v.
Rhodes, 416 U.S. 232, 236 (1974).

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       should be vacated when the arbitrator has refused to hear competent and material evidence

       or where the arbitrator has received and considered evidence outside the scope of the

       proceeding without the consent of a party.10 Furthermore, courts have found the standards

       set forth in the FAA violated where an arbitrator based an award on statements not produced

       or disclosed at the hearing, or where the arbitrator made a determination not required for a

       resolution of the dispute.11

              Thus, taking Barrington’s allegations as true, and accepting all reasonable inferences

       drawn from them, Barrington has clearly stated a claim for relief under the FAA.

                             2. Failure to State a Claim under the LMRA

              The Court further finds that Barrington has adequately stated a claim for relief under

       the Labor Management Relations Act. In the instant case, Barrington alleges that her

       representative, Michael Barnette, breached his duty to fairly represent her by restraining her

       from testifying at an arbitration hearing. (Doc. No. 1, ¶ 16). Barrington further claims that

       after Barnette prevented her from testifying against her will at the first arbitration hearing,

       she sent a letter to the arbitrator and filed a complaint against Barnette with the National

       Labor Relations Board, stating that he breached his duty to fairly represent her. (Id.) She



       10
          See, e.g., Gulf Coast Indus. Workers Union v. Exxon Co., USA, 70 F.3d 847 (5th
Cir.1995) (unfair exclusion of evidence can justify vacatur of award); Weinberg v. Silber, 140
F.Supp.2d 712, 719-20 (N.D. Tex. 2001); Seaboard Surety Co. v. Pennsylvania, 38 A. 2d 58 (Pa.
1944) (noting that admitting and considering evidence without the consent or notice to the
opposing party, or unauthorized ex parte investigations without the consent of a party justify
vacatur where prejudicial).
       11
          E.g., Textile Workers Union of Am. v. American Thread Co., 291 F.2d 894, 896 (4th
Cir. 1961); Truck Drivers and Helpers Union v. Ulry-Talbert Co., 330 F.2d 562, 563 (8th Cir.
1964); Socony Vacuum v. Socony Mobil Oil Co., 369 F.2d 480, 482 (2d Cir. 1966).

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    further alleges that when Barnette learned of this, he became very angry with her, yelled at

    her, and stated that he just spoke with the arbitrator and that she was going to lose her case.

    (Id. at ¶¶ 18-19). When Barrington informed Barnette that such contact was in violation of

    the rules, she claims Barnette yelled at her again. (Id. at ¶ 19). Barrington states that she

    mailed letters to Barnette’s boss, the Union President, and a lawyer for the Union, which

    detailed her conflicts with Barnette, her opinion that Barnette was angry with her, and the

    ex parte communications between Barnette and the arbitrator. (Id. at ¶¶ 19-20). Barrington

    stated that she felt that by discussing the case with Barnette, the arbitrator formed a

    preconceived opinion about her case. (Id. at ¶ 19). Barrington alleges she asked the Union

    officials she contacted to replace Barnette and to move for a new arbitrator, but they refused.

    (Id.) Finally, Barrington alleges that the Union also breached its duty to fairly represent her

    by failing to move to vacate the arbitrator’s order. (Id. at ¶ 24).

           Mere trivial errors alleged to have taken place during the grievance process or the

    arbitration proceeding are insufficient to establish a violation of the LMRA by an

    employee’s labor union representative. Hines v. Anchor Motor Freight, Inc., 424 U.S. 554,

    571 (1976). A plaintiff claiming a breach of the duty of fair representation against a labor

    union must show that the union's conduct toward her was arbitrary, discriminatory, or done

    in bad faith. Vaca v. Sipes, 386 U.S. 171, 190 (1967). A union acts arbitrarily only when

    its actions have no rational basis. Marquez v. Screen Actors Guild, 525 U.S. 33, 46 (1998).



             Taking Barrington’s allegations as true, and accepting all reasonable inferences

    drawn from them, Barrington has stated a claim for relief under the LMRA. While


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       Lockheed is correct in arguing that the Union could not legally breach its duty of fair

       representation solely by failing to move to vacate the arbitrator’s decision or making various

       strategic evidentiary decisions,12 the allegations of Barrington’s motion to vacate create the

       reasonable inference that the Union’s representation was arbitrary, discriminatory, or in bad

       faith. See, e.g., Vaca, 386 U.S. at 190. Barrington’s motion asserts that she continually had

       conflict with her Union representative, Michael Barnette, over his handling of her case.

       Barrington accused Barnette of violating several rules, including breaching his duty to fairly

       represent her and engaging in ex parte communications with the arbitrator. Barrington

       publicized her feelings to her arbitrator and Barnette’s superiors, and states that Barnette

       became angry with her and yelled at her on at least one occasion.

               These allegations, if true, are sufficient to demonstrate that the Union breached its

       duty to fairly represent Barrington. If Barnette did contact the arbitrator and caused him to

       form preconceived opinions about Barrington and her case, a strong inference that his

       actions “seriously undermine[d] the integrity of the arbital process” is created. See Hines,

       424 U.S. at 567. Furthermore, depending on the degree with which Barrington and Barnette

       had conflict with each other, a reasonable inference is created that the Union’s decision not

       to replace Barnette or seek a new arbitrator was discriminatory or had no rational basis.

       Marquez, 525 U.S. at 46 (1998).13


       12
          See, e.g., Bonds v. Coca-Cola Co., 806 F.2d 1324, 1326 (7th Cir. 1986); Patterson v.
Int’l Board of Teamsters, Local 959, 121 F.3d 1345, 1349 (9th Cir. 1997).
       13
         Lockheed's additional arguments that Barrington's claims lack proof and that the
Union did not in fact breach its duty of fair representation, (Doc. No. 13, pp. 17-20), are
improper at this stage in the proceedings. For purposes of a Motion to Dismiss, the Court must
                                                                                      (continued...)

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               For these reasons, Lockheed’s Motion to Dismiss is hereby denied.



                                                Conclusion

               For the foregoing reasons, the Motion to Dismiss and Supporting Memorandum of

       Law/Memorandum of Law in Opposition to Plaintiff’s Motion to Vacate Arbitration Award,

       (Doc. No. 13), filed by Defendant Lockheed Martin Corporation, is DENIED.



       DONE and ORDERED in Chambers in Orlando, Florida this _10th__ day of January, 2006.




       Copies furnished to:

       Counsel of record

       Unrepresented party




               13
                   (...continued)
limit itself to the well-pleaded allegations of the pleading, consider such allegations as true, and
accept all reasonable inferences that can be drawn from them. Jackson, 21 F.3d 1532, 1534
(11th Cir. 1994).

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